
ERDMANN, Judge
(dissenting):
Because the majority finds ambiguity by going beyond the four corners of this otherwise unambiguous action, I respectfully dissent. See United States v. Politte, 63 M.J. 24, 28 (C.A.A.F.2006) (Erdmann, J., dissenting). The action here is not ambiguous. The convening authority did not approve the adjudged bad-conduct discharge. The Court of Criminal Appeals should have reviewed this action and found that it had no statutory *100authority to conduct further review. I would set aside the decision of the United States Navy-Marine Corps Court of Criminal Appeals and return the case to the Judge Advocate General of the Navy without addressing the remaining issues.
